
CONCURRING AND DISSENTING OPINION BY
BOWES, J.:
¶ 1 I agree with the majority’s well-reasoned analysis of the jurisdictional issue presented herein and join in its disposition of Appellant’s first argument. However, I must take issue with the majority’s decision to address Appellant’s sufficiency-of-the-evidence claim because that issue has not been preserved for appellate review. The record reveals that during the hearing on Appellee’s PFA petition, Appellant emphatically denied imposing any form of corporal punishment for bad behavior and testified that she never physically struck T.L. See N.T. Hearing, 6/21/07, at 56, 60. Therefore, as Appellee accurately points out in her brief, Appellant cannot presently argue that she was justified in striking T.L. for disciplinary reasons because that issue was never raised in the trial court. See Pa.R.A.P. 302(a) (“Issues not raised in the lower court are waived and cannot be raised for the first time on appeal.”); see also Kelley v. Mueller, 590 Pa. 91, 912 A.2d 202 (2006) (search-and-seizure issue relating to PFA proceedings was waived under Rule 302(a) because it was not preserved in the trial court).
